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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                Case No.: 1:19-CR-00018-ABJ

UNITED STATES OF AMERICA,



v.

ROGER J. STONE, JR.,

            Defendant.
______________________________/

              DEFENDANT ROGER STONE'S MOTION FOR DISCOVERY
                    REGARDING SELECTIVE PROSECUTION

       Defendant, Roger Stone, requests that this Court issue an order compelling discovery on

the issue of selective prosecution. Roger Stone is being selectively prosecuted because he has

exercised his First Amendment right to associate with, and through speech, support Donald J.

Trump, the President of the United States.

                        THE LAW ON SELECTIVE PROSECUTION

       The Special Counsel’s prosecutorial discretion is subject to constitutional limitations

including the equal protection component of the Fifth Amendment’s Due Process Clause, which

prohibits prosecutorial decisions based on race, religion, or other arbitrary classifications,

including the exercise of protected constitutional rights. See United States v. Armstrong, 517

U.S. 456, 464 (1996); Wayte v. United States, 470 U.S. 598, 608 (1985). Federal courts have

long “recognized that it is unconstitutional to administer the law ‘with an evil eye and an unequal

hand so as practically to make unjust and illegal discrimination between persons in similar

circumstances . . . .’” United States v. Napper, 574 F. Supp. 1521, 1523 (D.D.C. 1983) (quoting

Yick Wo v. Hopkins, 118 U.S. 356, 373-74 (1886)). To obtain discovery on a selective-
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prosecution claim, a defendant must put forth “some evidence tending to show the existence of

the essential elements of a selective prosecution claim.” Armstrong, 517 U.S. at 470 (internal

citations omitted). These elements are: (1) that the defendant was singled out for prosecution

from others similarly situated, and (2) that the prosecution was motivated by a discriminatory

purpose. See United States v. Palfrey, 499 F. Supp. 2d 34, 39 (D.D.C. 2007); United States v.

Blackley, 986 F.Supp. 616, 618 (D.D.C. 1997). To establish a claim sufficient to warrant

discovery, the defendant must provide something more than mere speculation or personal

conclusions based on anecdotal evidence. Rather, the standard “necessarily is lower than the

‘clear evidence’ standard required for dismissal of the indictment.” United States v. Hsia, 24 F.

Supp. 2d 33, 49 (D.D.C. 1998) (citing Armstrong, 517 U.S. at 470) (reversed in part and appeal

dismissed, 176 F.3d 517 (D.C. Cir. 1999)).

       With respect to the first element, “[a] similarly situated offender is one outside the

protected class who has committed roughly the same crime under roughly the same

circumstances but against whom the law has not been enforced.” United States v. Khanu, 664 F.

Supp. 2d 28, 32 (D.D.C. 2009) (internal citations omitted); see also Armstrong, 517 U.S. at 469.

With respect to the second element: “[d]iscriminatory purpose implies more than intent as

awareness of consequences. It implies that the decision maker selected or affirmed a particular

course of action at least in part because of, not merely in spite of, its adverse effects upon an

identifiable group.” Wayte, 470 U.S. at 610 (internal citations omitted).

       A party seeking discovery on a selective prosecution claim is not required to produce

direct evidence of intent. United States v. Washington, 705 F.2d 489, 494-95 (D.C. Cir. 1983)

(recognizing that the district court ordered discovery on discriminatory intent based on indirect

evidence of statistics regarding “how many passport frauds were detected since 1975, how many



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detected frauds were prosecuted and how many frauds detected or prosecuted involved [a

particular group]” and was thus uniquely in the government’s possession); see also Branch

Ministries, Inc. v. Richardson, 970 F. Supp. 11, 17 (D.D.C. 1997) (noting that indirect evidence

of bias or discriminatory motive may be sufficient in civil case alleging selective prosecution by

Internal Revenue Service applying the same test for selective prosecution as that used in criminal

cases, and noting that application of civil, as opposed to criminal discovery rules did not affect

the outcome of the case). “If discovery is ordered, the Government must assemble from its own

files documents which might corroborate or refute the defendant’s claim” of selective

prosecution. Armstrong, 517 U.S. at 468. This may include information demonstrating how

many instances of the crime were detected, how many were prosecuted, and how many involved

individuals or entities of the defendant’s nationality. Washington, 705 F.2d at 494-95. In the

context of an investigation when the Special Counsel was tasked with determining if any

American conspired with any Russian agent to influence the 2016 presidential election, and a

determination was made that there was none, Roger Stone can meet the threshold and is entitled

to discovery.

                ROGER STONE IS BEING SELECTIVELY PROSECUTED

       The reason for the Special Counsel’s targeted investigation and prosecution of Roger

Stone is obvious: Roger Stone is being punished for supporting and maintaining political support

for President Donald Trump. The appointment of the Special Counsel was limited to “the

Russian government’s efforts to interfere in the 2016 presidential election,” and “links and/or

coordination between the Russian government and individuals associated with the campaign of

President Donald Trump.”1 Going to great lengths to exclude Americans from actions involving


1
  Order No. 3915-2017, Appointment of Special Counsel to Investigate Russian Interference with the 2016
Presidential Election and Related Matters. (Attached as Exhibit 1).

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Russians, the Special Counsel indicted only Russians who will never appear in a U.S. courtroom.

See United States v. Netyksho et. al. No. 18-cr-215 (ABJ). Indeed, the only Americans who were

indicted by the Special Counsel were those who allegedly committed crimes for activities outside

the Russian collusion investigation, and those who allegedly lied to the Special Counsel, or,

allegedly, to Congress. The only conclusion that can be drawn is that Roger Stone is being

prosecuted for obstructing a different branch of government’s investigation into a conspiracy the

Special Counsel has announced did not exist.

       The Appointment Order for the Special Counsel is dated May 17, 2017. As set forth

below, much of the public reporting regarding efforts by foreign nationals to interfere with the

2016 election came to light in late 2016 and early 2017. Nevertheless, the Special Counsel was

limited to focus solely on activities by Russians in support of President Trump, despite existing

reports regarding other efforts to interfere on behalf of multiple presidential candidates including

Donald Trump, Hillary Clinton, and Bernie Sanders. Furthermore, despite plenty of evidence that

other witnesses have testified and lied in front of Congress, the Special Counsel has prosecuted

Roger Stone, and without a referral to do so.

       Congress did not refer a potential criminal matter to the Department of Justice. It is a

separate, but not mutually exclusive claim, that the Special Counsel was not authorized to accept

such a referral. Lying to or obstructing Congress would not fall within the “any links” paragraph

(b)(i) of the Appointment Order vesting power in the Special Counsel. Stone’s alleged crime was

a snapshot in time. Indeed, any obstruction or lying to Congress charge committed by Stone

would be well after the 2016 presidential campaign, and no time before.

       Section 600.4 only authorizes the Special Counsel to the jurisdiction established by the

Attorney General – the Order of Appointment of Special Counsel. The Special Counsel is limited



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by the “specific factual statement of the matter to be investigated.” Order No. 3915-2017. “The

jurisdiction of a Special Counsel shall also include the authority to investigate and prosecute

federal crimes committed in the course of, and with intent to interfere with, the Special Counsel's

investigation, such as perjury, obstruction of justice, destruction of evidence, and intimidation of

witnesses; and to conduct appeals arising out of the matter being investigated and/or prosecuted.”

Id. (Emphasis added). This Court has held that the Special Counsel’s authority is not limited by

the federal regulation or the Order of Appointment, it nonetheless, demonstrates the Special

Counsel endeavored well outside its authority and remarkably outside its branch of government

to prosecute matters that Congress did not ask the Department to do, for crimes that did not,

“interfere with, the Special Counsel’s investigation.”

        Lying to or obstructing Congress is not “any links” in paragraph (b)(i) of the

Appointment Order. This would not be any links and/or coordination. Any obstruction by Stone

of Congress would be well after the 2016 presidential campaign, and no time before. What

makes this prosecution particularly selective is that the Special Counsel had to act without a

referral from Congress and act outside the limits of his appointment – prosecute obstruction of

another branch of government. Said plainly, the Special Counsel was not asked to look into

obstruction of Congress and the Special Counsel was not authorized to investigate it on its own.2

        Jerome Corsi, a witness in the case against Stone, who admits to lying to the Special

Counsel, published for the world to see, a draft of a Plea Agreement pushed on him by the

2
 See Morning Joe, Adam Schiff Discusses What House Intel Committee Learned from Roger Stone, YouTube (Sept.
27, 2017), https://www.youtube.com/watch?v=1y62cb8SyD0&feature=youtu.be&t=49
Congressman Eric Swalwell, Rep. Swalwell on MSNBC discussing House Intelligence Committe’s [sic] Interview of
Roger Stone, YouTube (Sept. 26, 2017) https://www.youtube.com/watch?v=6lUEGgLfuX0
Congressman Eric Swalwell, Rep. Swalwell on CNN discussing House Intelligence Committee’s interview of Roger
Stone, YouTube (Sept. 26, 2017), https://www.youtube.com/watch?v=TfOMMniTC0s
Adam Schiff, Rep. Schiff Discusses Russian Ads on Facebook and Roger Stone’s Interview on CNN, YouTube
(Sept. 27, 2017), https://www.youtube.com/watch?v=KvFkuM-lnr0
Jackie Speier, Rep Speier talks to CNN about Roger Stone’s House Intelligence Interview, YouTube (Sept. 26,
2017), https://www.youtube.com/watch?v=r3rCyq_D5Z4

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Special Counsel, authorized his lawyer to sue the Special Counsel, and yet he was not charged.

(Exhibits 2, 3, 4 ) (filed under seal).

        In Armstrong, the Supreme Court ruled that a defendant’s evidence of discriminatory

effect was insufficient to support a selective prosecution claim where it did not identify similarly

situated offenders—individuals of a different race who could have been prosecuted but were not.

517 U.S. at 470. Here, the Mueller report has the information Stone seeks. The Report advises

who has been interviewed, who has been investigated, and why others were not prosecuted for

obstruction or perjury. Indeed, they are “outside the protected class [and have] committed

roughly the same crime under roughly the same circumstances but against whom the law has not

been enforced.” Khanu, 664 F. Supp. 2d at 32 (internal quotation marks omitted). Further

discovery will make clear that others were given preferred treatment, i.e. not indicted, because

they did not support Trump.

        Another witness, Randy Credico lied about speaking to Assange and Assange’s lawyer to

federal agents. It is curious that the Special Counsel found one aspect of Credico’s interactions

with Stone so compelling that it made its way into Stone’s Indictment. In Paragraph 14(e) of the

Indictment, the Special Counsel quotes the conversation between Stone and Credico from

Credico’s radio show of August 23, 2016. Stone and Credico have a discussion regarding

communications with the “head of Organization 1.” Yet, astonishingly, in Credico’s testimony

to the Grand Jury (DOJ-3500-RC-000111) Transcript Page 44, Lines 7-22, Credico tells the

Grand Jury that on the very show they quote, Stone and Credico never discussed the head of

Organization 1. For unknown reasons and the precise reason why discovery is mandated in these

situations, the Special Counsel elected not to charge Credico with lying to the Grand Jury,

something expressly within their regulatory authority.



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           Later in his testimony, Credico says that prior to his interview with presidential candidate

Gary Johnson on September 10, 2016, that he had never spoken to Stone about WikiLeaks or

Assange.3 This is a demonstrated lie as according to the text messages between Stone and

Credico that Stone voluntarily released, and the Special Counsel possessed. As early as August

19, 2016, Credico was bragging to Stone that he had a connection to Assange and that it was

through Margaret Kunstler, Esq., an attorney represented to be on Julian Assange’s legal team.

There is no indication based on the initial review of discovery provided by the government that

the Grand Jury was ever informed of Credico’s lies regarding the August 23d radio interview.

           In another example of the selective nature of the Stone prosecution, upon information and

belief, an additional witness appeared to provide testimony to the Grand Jury about Stone and

Credico. During that testimony the witness informed the Grand Jury that Randy Credico

threatened to “put a hole” in [the witness’s] head if the witness told investigators that Credico

was in fact the person that provided Roger back-channel information on WikiLeaks.4

           This is an instance where the very person Stone is accused of intimidating is actually

intimidating other witnesses in the case. The Special Counsel made a decision not to charge

Credico with either lying or intimidation, something which makes him similarly situated to Stone

and discovery is required to make clear that out of the two individuals, only Roger Stone

supported President Donald Trump.

           Of the hundreds of other witnesses in the House Permanent Select Committee on

Intelligence investigation and the other committees of the House and the Senate, only two have

been charged; arguably two of the closest people to the President, Michael Cohen and Roger

Stone. Michael Cohen was charged with lies that directly related to the Trump Organization and

3
    Credico, Grand Jury at 55-57. (filed under seal).
4
    https://dailycaller.com/2018/11/07/stone-mueller-grand-jury-credico/

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its potential involvement with real estate transactions in Russia.          Contrast that with the

allegations leveled against Roger Stone, that he allegedly lied to a co-equal and distinct branch of

government, without a referral being made by that Constitutionally distinct branch, about having

conversations with an American friend who was a journalist. There is enough evidence of the

selective nature of how the Special Counsel choose people to indict that discovery should be

ordered.

                                                  Respectfully submitted,

                                                 By: /s/_______________

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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on April 12, 2019, I electronically filed the foregoing with the

Clerk of Court using CM/ECF. I also certify that the foregoing is being served this day on all

counsel of record or pro se parties, via transmission of Notices of Electronic Filing generated by

CM/ECF.


                                              By: /s/ Robert Buschel
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